           Case 6:19-cr-00255-AA       Document 1     Filed 06/19/19          Page 1 of 11




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                           UNITED STATES DISTRICT-COURT

                                  DISTRICT OF OREGON

                                     EUGENE DIVISION



UNITED STATES OF AMERICA,                         6:19-cr-   2.55 • AA
               v.                                 INDICTMENT

RICHARD OGDEN, and                                18 u.s.c. § 1349
MICHAEL MANN,                                     18 u.s.c. § 1341

               Defendants.                        Forfeiture Allegation

                              THE GRAND JURY CHARGES:

                                GENERAL ALLEGATIONS

      At all times relevant to this Indictment:

      1.      Defendant RICHARD OGDEN resided in Selma, Oregon, and in Reno, Nevada.

      2.      Defendant MICHAEL MANN resided in Selma, Oregon.

      3.      Silver Cache Trading Corp. (Silver Cache), incorporated in Oregon in 2002, was a

      company controlled by defendants RICHARD OGDEN and MICHAEL MANN. Silver

      .Cache operated primarily from the Selma; Oregon, and Reno, Nevada, residences of
                      I


      defendant RICHARD OGDEN. Silver Cache offered prospective and established clients

      various programs through which these clients could purchase gold and silver coins from

      Silver Cache.

      4.      Vault Protective Services, Inc. (VPS), incorporated by defendant MICHAEL

      MANN in Oregon in 2004, was a company with no actual place ·of business and it

Indictment                                                                                         Page 1
           Case 6:19-cr-00255-AA       Document 1     Filed 06/19/19      Page 2 of 11




      conducted no business. Defendants RICHARD OGDEN and MICHAEL MANN, as

      described below, made material misrepresentations about VPS to induce prospective .

      clients to do business with Silver Cache, including buying gold and silver coins from

      Silver Cache, and to convince established clients of Silver Cache to continue doing

      business with Silver Cache, including buying gold and silver coins from Silver Cache.

      5.      A-Mark Precious Metals, Inc. (A-Mark), located in El Segundo, California, was a

      legitimate seller of gold and silver coins. Defendants RICHARD OGDEN and

      MICHAEL MANN caused Silver Cache to buy from A-Mark most of the gold and silver

      coins Silver Cache supplied to its clients.

      6.      Equity River Funding, LLC .(Equity River), was a limited liability corporation

      defendant RICHARD OGDEN incorporated in Wyoming in 2012 and purportedly

      operated from Reno, Nevada. As described below, defendant RICHARD OGDEN used

      Equity River as a successor to Silver Cache to facilitate a scheme to defraud clients.

                                               COUNT ONE

                       [18 U.S.C. § 1349 - Conspiracy to Commit Mail Fraud]

           Paragraphs 1-5 of the General Allegations are incorporated herein.

                                   OBJECT OF THE CONSPIRACY

      1.      Beginning on or about May 1, 2008 and continuing up to and including December

      31, 201_4 within the District of Oregon, and elsewhere, defendants RICHARD OGDEN

      and MICHAEL MANN, and others, known and unknown to the grand jury, unlawfully

      and knowingly combined, conspired, confederated, and agreed together to devise a

      material scheme or artifice to defraud, or for obtaining money or property by means of

      materially false or fraudulent pretenses, representations, or promises, and for the purpose

Indictment                                                                         Page 2
           Case 6:19-cr-00255-AA           Document 1   Filed 06/19/19     Page 3 of 11




      of executing such scheme or artifice or attempting to do so, to place in any post office or

      authorized depository for mail matter, any matter or thing whatever to be sent or

      delivered by the Postal Service, or to deposit or cause to be deposited any matter or thing

      whatever to be sent or delivered by any private or commercial interstate carrier, or to take

      or receive therefrom, any such matter or thing, or to knowingly cause to be delivered by

      mail or such carrier according to the direction thereon, or at the place at which it is

      directed to be delivered by the person to whom it is addressed, any such matter or thing,

      in violation of Title 18, United States Code, Section 1341.

                      MANNER AND MEANS OF THE CONSPIRACY

      2.       Defendants RICHARD OGDEN and MICHAEL MANN, and others, known and

      unknown to the grand jury, carried out their conspiracy using the following manner and

      means, among others:

            a. The defendants put on seminars at locations throughout the United States to solicit

               clients for Silver Cache.

            b. At the seminars, the defendants promoted the purchase of gold and silver coins

               through Silver Cache as a means of safely protecting personal assets and safely

               increasing personal net worth.

            c. At the seminars and at other times and places, including through the United States

               mail, the defendants distributed to prospective clients and established clients of

               Silver Cache written materials promoting the purchase of gold and silver coins

               through Silver Cache as a means of safely protecting personal assets and safely

               increasing personal net worth.



Indictment                                                                           Page3
        Case 6:19-cr-00255-AA           Document 1       Filed 06/19/19     Page 4 of 11




         d.   The defendants represented to prospective and established .cli~nts that if they

              bought gold an_d silver coins through Silver Cache, the clients could choose to have

              Silver Cache ship the coins from Silver Cache to them or to have Silver Cache store

              the coins on their 1;,ehalf at Vault Protective Services.

         e. The defendants represented to prospective and established· clients that because

              Silver Cache bought gold and silver coins in bulk Silver Cache paid a discounted

              amount for the coins it bought. The defendants further represented that Silver

              Cache made its profits, and the defendants made their personal profits from Silver

              Cache, by charging the clients a higher amount for coins than Silver Cache paid,
                                                                                                         .   I
              but that Silver Cache charged the clients less for coins than if individual clients            I
                                                                                                             I
                                                                                                             I

              bought the same coins for retail prices.

         f.. The defendants, in their oral presentations, in their written promotional materials,

              and in account statements and correspondence mailed to clients, described Vault

              Protective Services as an insured company independent from Silver Cache, that

              would, for a monthly fee, store client coins in a highly secure unidentified business



         g. Some Silver Cache clients sent their money to Silver Cache so Silver Cache could

              buy coins ori their behalf, then ship the coins to those clients using the United States

              mail or private interstate carrier.

         h. Some Silver Cache clients, relying on the defendants' false. representations about

              Vault Protective Services, sent money to Silver Cache so Silver Cache could buy

              coins on their behalf, then store the coins at Vault Protective Services.



Indictment                                                                            Page4
        Case 6:19-cr-00255-AA          Document 1         Filed 06/19/19   Page 5 of 11




         1.   Each m<:mth, the defendants created and mailed monthly account statements to

              Silver Cache clients. For the Silver Cache clients who had directed Silver Cache

              to store their coins at Vault Protective Services, the account statements identified

              the coins Silver Cache had purportedly purchased on their behalf that month and

              had sent to Vault Protective Storage. These account statements also had a running

              total of the coins purportedly stored at Vault Protective Services. These account

              statements also billed the clients for a monthly storage charge for the coins

              purportedly stored at Vault Protective Services. The defendants collected these

              monthly storage fees from clients in several ways.

         J.   The defendants' representations about Vault Protective Services were false. First, •

              the defendants intentionally failed to disclose to prospective and established clients

              that they had created Vault Protective Services. Second, contrary to the defendants'

              oral and written representations, Vault Protective Services had no physical business

              location, conducted no business, was not insured, and the defendants sent no coins

              to Vault Protective Services for storage.

         k. It was further part of the conspiracy that defendant RICHARD OGDEN used for

              his own personal benefit client funds, including a portion of the money Silver Cache

              clients sent to Silver Cache to buy coins to be stored at Vault Protective Services.

         1. It was further part of the conspiracy that defendant MICHAEL MANN used for his

              personal benefit, and for the benefit of his domestic partner, client funds, including·

              a portion of the money Silver Cache clients sent to Silver Cache to buy coins to be

              stored at Vault Protective Services.



Indictment                                                                           Page 5
        Case 6:19-cr-00255-AA         Document 1      Filed 06/19/19        Page 6 of 11




         m. It was further part of the conspiracy that the defendants used Silver Cache to offer

             loans to Silver Cache clients. One type of collateral for these loans was the coins

             Silver Cache was supposedly storing at Vault Protective Services for these clients.

         n. It was further part of the conspiracy that the defendants used Silver Cache or

             another entity they created and controlled, Coin Clearinghouse, LLC, to solicit and

             obtain loans from Silver Cache clients. The defendants, through Silver Cache or

             Coin Clearinghouse, LLC, falsely represented they would repay these loans with

             interest. Instead, the defendants did not repay these loans.

         o. In December 2014, the defendants sent to clients of Silver· Cache a letter stating

             Silver Cache was ceasing · business operations.       This letter contained several

             material false representations that the defendants intended would cause Silver

             Cache clients to delay making, or to not make, legal claims against Silver Cache or

             them, and to delay informing, or not inform, law enforcement authorities about their

             fraudulent operation of Silver Cache. In this letter, the defendants falsely stated

             Silver Cache was ceasing business operations "[ d]ue to adverse economic

             conditions and the inability of the Company to produce a profit for a number of

             years ... " This letter further stated that "[i]f you believe you have a claim against

             the corporation, you are invited to submit a written description of that claim along

             with any supporting documents ... " and falsely stated that "[a]ll claims received

             will ·be subject to evaluation and audit." This letter directed client-claimants to

             address.their claims to "Silver Cache Trading Corp, Attn: Corporate Receiver ... "




Indictment                                                                          Page 6
            Case 6:19-cr-00255-AA      Document 1       Filed 06/19/19      Page 7 of 11




       in this way falsely representing to clients a Corporate Receiver was in control of

       Silver Cache when, in fact, no such Corporate Receiver existed

In violation ofTitle18, United States Code, Section 1349.

                                         COUNTTWO

                             [18 U.S.C. Section 1341-Mail Fraud]

               Paragraphs 1-6 of the General Allegations are incorporated herein.

       1.      Beginning on or about May 1, 2008 and continuing up to and including June 30,

       2017, within t~e District of Oregon, and elsewhere, defendants RICHARD OGDEN and

       MICHAEL MANN devised a material scheme or artifice to defraud, or for obtaining

       money or property by means of materially false or fraudulent pretenses, representations,

       or promises, and for the purpose of executing such scheme or artifice or attempting to do

       so, placed in any post office or authorized depository for mail matter, any matter or thing

       whatever to be sent or delivered by the Postal Service, or deposited or caused to be

       deposited any matter or thing whatever to be sent or delivered by any private or

       commercial interstate carrier, or took or received therefrom, any such matter or thing, or

       knowingly caused to be delivered by mail or such carrier according to the direction

       thereon, or at the place at which it is directed to be delivered by the person to whom it is

       addressed, any such matter or thing.

       2.      In furtherance of the material scheme or art1fice to defraud, or for obtaining

       money or property by means of materially false or fraudulent pretenses, representations,

       or promises, defendants RICHARD OGDEN and MICHAEL MANN:




Indictment                                                                           Page 7
        Case 6:19-cr-00255-AA            Document 1       Filed 06/19/19    Page 8 of 11




             a. conducted seminars at which they made false material misrepresentations and

                material omissions about Vault Protective Services and that Silver Cache would

                use all client funds to buy gold and silver coins;
                                                  .         .
             b. mailed monthly statements to established clients of Silver Cache that contained

                false material statements about that month's purchase of coins, that those coins

                were stored at Vault Protective Services, and a running total of coins purportedly

                stored at Vault Protective Services;

             c. in December 2014, mailed to clients of Silver Cache a letter falsely stating Silver

                Cache was ceasing business operations "[ d]ue to adverse economic conditions and

                the inability of the Company to produce a profit for a number of years ... " This

                letter further stated that "[i]fyou believe you have a claim against the corporation,

                you are invited to submit a written description of that claim along with any

                supporting documents ... " and falsely stated that "[a]ll claims received will be

                subject to evaluation and audit." This letter directed client-claimants to address

                their claims to "Silver CacheTrading Corp, Attn: Corporate Receiver ... " in this

                way falsely representing to clients a Corporate Receiver was in control of Silve~

                Cache when, in fact, no such Corporate Receiver existed.

      3. .      In or about December 2014, defendant MICHAEL MANN ceased his

      participation in the material scheme or artifice to defraud, or for obtaining money or

      property by means of materially false or fraudulent pretenses, representations, or

      promises, but defendant RICHARD OGDEN continued his participation.




Indictment                                                                            Page 8
           Case 6:19-cr-00255-AA        Document 1      Filed 06/19/19     Page 9 of 11




      4.       After in or about December 2014, and in furtherance of the material scheme or

      artifice to defraud, or for obtaining money or property by means of materially false or

      fraudulent pretenses, representations, or promises, defendant RICHARD OGDEN:

            a. mailed written statements ("lulling statements") to former Silver Cache clients

               designed to forestall those clients from taking legal action against him and against

               Silver Cache and to forestall those clients from informing law enforcement

               authorities about Silver Cache's fraudulent operation. These lulling statements;

               (including a statement titled "CS Corp Client Advisory") contained material false

               statements about the_ reasons Silver Cache ceased operations, about how client

               losses would be minimized, about how former Silver Cache clients could make

               claims against Silver Cache, and about how these claims would be processed,

           b. used Equity River Funding as a successor to Silver Cache but continued to use the

              . name Silver Cache as a d/b/a for Equity River Funding, and falsely represented

               that Silver Cache and Equity River Funding had different ownership and ·

               management when, in fact, defendant OGDEN operated and controlled both

               companies;

            c. used Equity River Fund d/b/a Silver Cache to solicit prospective and established

               clients to purchase gold and silver coins;

            d. falsely represented to prospective and established clients that clients could

               purchase coins and, for a fee, have those coins safely stored at Vault Protective

               Services;




Indictment                                                                           Page 9
             Case 6:19-cr-00255-AA         Document 1     Filed 06/19/19      Page 10 of 11




              e. used client funds for his personal benefit rather than using those funds to purchase

                 coins for clients and storing the coins at Vault Protective Services, as he had

                 represented to clients;

              f. · created and mailed to clients _of Equity River Funding d/bla Silver Cache monthly

                 statements falsely showing the clients had coins stored at Vault Protective

                 Services and charging the clients a fee :for coin storage.

 In violation of Title 18, United States Code, Section 1341.

                                  FORFEITURE ALLEGATION

        1.       Upon conviction of either offense in Count 1 or 2, _defendants RICHARD

 OGDEN and MICl{AEL MANN shall forfeit to the United States, pursuant to 18 U.S.C. §

 981(a)(l)(C) and 28 U.S.C. § 2461(c), any property constituting or derived from proceeds

 traceable to the commission of said violations, including but not limited to a money judgment for

 a sum of money equal to the amount of forfeitable property.

        2.       If any of the above-described forfeitable property, as a result of any act or

_· omission of the defendants OGDEN or MANN:

        (a) cannot be located upon the exercise of due diligence;

        (b) _has been transferred or sold to, or deposited with, a third party; .. ·

        (c) has been placed beyond the jurisdiction of the court;

        (d) has been substantially diminished in value; or

        (e) has been commingled with other property which cannot be divided without difficulty;

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 II I

 Indictment .                                                                           Page 10
                Case 6:19-cr-00255-AA         Document 1       Filed 06/19/19     Page 11 of 11




       it is th~ intent of the United States,.pursuant to 21 U.S.C. § 853(p) as incorporated by 28 U.S.C.

       § 2461 (c), to seek forfeiture of any other property of said defendant up to the value of the

       forfeitable property described in these forfeiture allegations.



       Dated: June 19, 2019                                 . A TRUE BILL.




      · Presented by:

       BILLY J. WILLIAMS
       United States Attorney



      ~ ]). ltttt'!1.
       SETH D. URAM, DC #376214
       Assistant United States Attorney




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II·
       · Indictment                                                                          Page 11
